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  INVESTORS FUNDING
  CORPORATION and APT-320, LLC

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  ATOOI ALOHA, LLC, an Nevada           )   CIVIL NO. 16-00347 JMS RLP
  Limited Liability Company; CRAIG B.   )
  STANLEY, as Trustee for THE           )   CERTIFICATE OF SERVICE
  EDMON KELLER AND                      )
  CLEAVETTE MAE STANLEY                 )   [re: DEFENDANT INVESTORS
  FAMILY TRUST; CRAIG B.                )   FUNDING CORPORATION AND
  STANLEY, individually; MILLICENT      )   APT-320, LLC’S RESPONSES TO
  ANDRADE, individually,                )   PLAINTIFFS ATOOI ALOHA,
                                        )   LLC, CRAIG B. STANLEY, AS
                    Plaintiffs,         )   TRUSTEE FOR THE EDMON
                                        )   KELLER AND CLEAVETTE MAE
        vs.                             )   STANLEY FAMILY TRUST,
                                        )   CRAIG B. STANLEY, AND
  ABNER GAURINO; AURORA                 )   MILLICENT ANDRADE’S FIRST
  GAURINO; ABIGAIL GAURINO;             )   REQUESTS FOR PRODUCTION
  INVESTORS FUNDING                     )   OF DOCUMENTS]
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  CORPORATION, as Trustee for an          )
  unrecorded Loan Participation           )
  Agreement dated June 30, 2014; APT-     )
  320, LLC, a Hawaii Limited Liability    )
  Company; CRISTETA C. OWAN, an           )
  individual; ROMMEL GUZMAN;              )
  FIDELITY NATIONAL TITLE &               )
  ESCROW OF HAWAII and DOES 1-            )
  100 Inclusive,                          )
                                          )
                     Defendants.          )
                                          )

                           CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on September 15, 2017 copies of above-

 identified documents will be served upon the following parties:

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                    CRAIG B. STANLEY, Individually; and
                    MILLICENT ANDRADE, Individually

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             DATED: Honolulu, Hawaii; September 19, 2017.

                                       /s/ Charles A. Price
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                                      Attorney for Defendants
                                      INVESTORS FUNDING
                                      CORPORATION and APT-320




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